                                                              United States Bankruptcy Court
                                                                  District of New Mexico
In re:                                                                                                                 Case No. 21-11322-j
Joel Alan Gaffney                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1084-1                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 02, 2021                                               Form ID: edropbox                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 04, 2021:
Recip ID                  Recipient Name and Address
db                      + Joel Alan Gaffney, 4200 Montgomery Blvd NE Apt 208, Albuquerque, NM 87109-1154

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 04, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 2, 2021 at the address(es) listed
below:
Name                               Email Address
United States Trustee
                                   ustpregion20.aq.ecf@usdoj.gov

Yvette J. Gonzales
                                   yjgllc@yahoo.com yg@trustesolutions.net


TOTAL: 2




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                                    UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW MEXICO


In re: JOEL ALAN GAFFNEY ,                                                            Case No.:   21−11322−j7
                Debtor.


                    APPLICATION FOR ACCESS TO PRO SE ELECTRONIC DROP BOX


A. HOW THE PRO SE ELECTRONIC DROPBOX WORKS.
         The Clerk of the United States Bankruptcy Court for the District of New Mexico has implemented a Pro Se
Electronic Drop Box ("EDB") for the purpose of permitting authorized self−represented (pro se) individuals to submit
documents for filing electronically in bankruptcy cases and adversary proceedings pending before Bankruptcy Judge
Robert H. Jacobvitz. Participation in this program is optional.

          A self−represented individual authorized to use the EDB will be issued a Pro Se Electronic Drop Box Link
("EDB Link" or "Link") unique to the individual; a married couple jointly authorized to use the EDB will be issued
one unique EDB Link for both spouses. Use of the EDB Link to submit a document for filing together with the name
of the individual on a signature block (or if both spouses join in the document, on the signature block for each spouse),
constitutes the signature of the individual(s) for purposes of Rule 9011 of the Federal Rules of Bankruptcy Procedure.
Such use of the EDB Link has the same effect as physically signing a paper document filed with the Court.
        An EDB Link serves the same purpose as a user name and password. Individuals (including couples) issued
an EDB Link should keep the Link confidential the same as they would keep a sensitive user name and password
confidential. Individuals issued an EDB Link are responsible for the use of the Link.
          When a document is submitted to the EDB for filing, Bankruptcy Court personnel will review the document
and, if appropriate, will file the document of record. The date of filing will be the date the document was received in
the EDB. The Court has the right to reject any document submitted to the EDB for filing if the document contains
impertinent, malicious, scandalous or profane matter or is not filed for a legitimate purpose. If a document submitted
to the EDB for filing is rejected, the individual who submitted the document will be notified by U.S. mail or email.
        Use of the EDB is a privilege not a right. The Court may revoke the privilege at any time.
B. APPLICATION.
________________________________ (Name of applicant) and ____________________________ (Name of
applicant if married couple jointly applying) ("Applicant(s)") hereby apply/ies to the Court for an Order granting
access to the Court's Pro Se EDB for the purpose of electronically submitting documents for filing in the
above−captioned bankruptcy case.
        In support of this application, Applicant(s) state(s):
        1. I am a self−represented (pro se) debtor or party in the above−captioned bankruptcy case.
          2. I understand that the use of an EDB Link the Court issues to me together with my name on a signature
block constitutes my signature for purposes of Fed. R. Bankr. P. 9011 on all documents submitted electronically to the
EDB for filing using my EDB Link. Use of my EDB Link has the same effect as physically signing a paper document
filed with the Court.
        3. I understand and agree that I am responsible for assuring the security of my EDB Link. If there is reason to
suspect my EDB Link has been compromised, it is my responsibility to immediately notify the Clerk's Office.
          4. I understand that electronically submitting documents through the EDB is a privilege that can be revoked
at any time.
        WHEREFORE, Applicant(s) respectfully request(s) that the Court grant this application for access to the
EDB in the above−captioned bankruptcy case.


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                                Respectfully submitted,

                                By: ________________________________________
                                 Signature of Applicant

                                Applicant Name: ______________________________

                                Mailing Address:______________________________

                                City:________________________________________

                                State:________________________________________

                                Zip:_________________________________________

                                Telephone:___________________________________

                                Email:_______________________________________

                                (If married couple jointly applying, both must sign)

                                By: ________________________________________
                                 Signature of Applicant

                                Applicant Name: ______________________________

                                Mailing Address:______________________________

                                City:________________________________________

                                State:________________________________________

                                Zip:_________________________________________

                                Telephone:___________________________________

                                Email:_______________________________________




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